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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

KACEY NICOLE WAGNER,                         §
                                             §
       plaintiff,                            §
                                             §
v.                                           §       Civil Action No. 3:22-cv-00257
                                             §
NEWREZ, LLC dba Shellpoint                   §
Mortgage Servicing,                          §
                                             §
       defendant.                            §

JOINT MOTION TO HOLD DISCOVERY AND DISPOSITIVE MOTION DEADLINES
        IN ABEYANCE PENDING DECISION ON PENDING MOTIONS

       Plaintiff Kacey Nicole Wagner and defendant NewRez LLC dba Shellpoint Mortgage

Servicing jointly request an order holding all discovery and dispositive motion deadlines in

abeyance pending decisions on Shellpoint's motion to enforce settlement agreement and to dismiss

with prejudice (motion to enforce) (Doc. 13) and Robert Newark's motion to withdraw as counsel

for plaintiff (motion to withdraw) (Doc. 11).

I.     Background

       1.      Plaintiff Kacey Wagner took out a home equity line of credit against the property

located at 21 Edgewater St., Bayou Vista, Texas 77653 in May 2015. (See Compl. ¶ 9, Doc. 1-1.)

Shellpoint serviced Ms. Wagner's loan, which was secured by a deed of trust recorded against the

property. A foreclosure under the deed of trust took place on July 5, 2022.

       2.      Ms. Wagner filed this lawsuit in state court on July 5, 2022, to assert claims for

negligence, violation and RESPA and violation of Texas Property Code against Shellpoint. (Doc.

1-1.) Shellpoint answered and removed the case to this court on July 20, 2022. (Docs. 1, 1-4.)




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         3.       Ms. Wagner's counsel, Robert Newark, moved to withdraw on March 1, 2023.

(Doc. 11.) Shellpoint opposed Mr. Newark's motion, and Mr. Newark filed a reply in support of

his motion.1 (Doc. 12, 14.)

         4.       On March 8, 2024, Shellpoint filed a motion to enforce a settlement between

Shellpoint and Ms. Wagner. 2 (Doc. 13.)

         5.       Discovery is scheduled to close on March 17, 2023. (Doc. 9.)

         6.       Dispositive motions are due March 24, 2023. (Doc. 9.)

         7.       Because the decision on Shellpoint's pending motion to enforce settlement may

render further discovery and dispositive motion briefing unnecessary, and because the ruling on

Mr. Newark's motion to enforce will dictate his obligations to Ms. Wagner moving forward, the

parties jointly request that those deadlines be held in abeyance and subject to rescheduling pending

the Court's ruling on Shellpoint's motion to enforce settlement and Mr. Newark's motion to

withdraw. (Docs. 13 and 11.)

         WHEREFORE, Shellpoint and Mr. Newark request an order that the March 17, 2023

discovery cut-off deadline and March 24, 2023 dispositive motion deadlines be held in abeyance

and subject to rescheduling by the Court pending the Court's ruling on Shellpoint's motion to

enforce settlement and Mr. Newark's motion to withdraw.




1
  Mr. Newark's motion to withdraw was based, at least in part, on the fact that Ms. Wagner had stopped communicating
with him. Shellpoint's objection was based, in part, on the fact that Ms. Wagner's deposition had been noticed for
March 10, 2023. On March 9, 2023, with less than 24 hours remaining before the deposition, Ms. Wagner renewed
communication with Mr. Newark. Given the short notice of Ms. Wagner's renewed participation in the litigation and
the uncertainties surrounding the motion to withdraw and motion to enforce, counsel agreed to vacate Ms. Wagner's
March 10, 2023 deposition with the understanding it could be reset if necessary either prior to the current March 17,
2023 close of discovery or afterwards, should the court grant this joint motion.
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  Details of the settlement and undersigned counsel's communications with Mr. Newark about settlement are outlined
in Shellpoint's underlying motion to enforce settlement, which Shellpoint filed under seal due the confidential nature
of the settlement.


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Dated: March 10, 2023               Respectfully submitted,



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